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            EXHIBIT H
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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION

ST. CLAIR COUNTY EMPLOYEES’               )           Civil Action No. 3:18-cv-00988
RETIREMENT SYSTEM, Individually and on )
Behalf of All Others Similarly Situated,  )           CLASS ACTION
                                          )
                              Plaintiff,  )           District Judge William L. Campbell, Jr.
                                          )           Magistrate Judge Alistair E. Newbern
        vs.                               )
                                          )           [PROPOSED] ORDER AMENDING PRE-
ACADIA HEALTHCARE COMPANY, INC., )                    TRIAL DEADLINES SET FORTH IN THE
et al.,                                   )           COURT’S CASE MANAGEMENT ORDERS
                                          )
                              Defendants.
                                          )
                                          )



         This matter comes before the Court on the Parties’ Joint Motion Requesting Amendment of

Pre-Trial Deadlines Set Forth in the Court’s Case Management Orders (the “Motion”) jointly

moving to amend certain deadlines in the Initial Case Management Conference Order entered

March 2, 2021 (ECF No. 66) and subsequent March 11 2021 Order (ECF No. 67), relating to fact

and expert discovery, dispositive motions, and trial of this action.

         For good cause shown, the Motion is GRANTED and it is hereby ORDERED that the

Court’s Initial Case Management Conference Order and subsequent March 11, 2021 Order be

amended as follows:

                     Event                           Current Deadline          Proposed Deadline
Substantial Completion of Document                 October 29, 2021           January 3, 2022
Production
Deadline for Plaintiffs’ Reply Brief in Support    December 28, 2021          March 4, 2022
of Class Certification
Deadline for any motions to amend or to add        January 15, 2022           March 18, 2022
parties
Completion of Fact Discovery                       May 13, 2022               July 22, 2022

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                   Event                        Current Deadline    Proposed Deadline
Submission of Affirmative Expert Reports      July 15, 2022        September 15, 2022
Submission of Rebuttal Expert Reports         August 31, 2022      October 31, 2022
Responses to Rebuttal Expert Reports          September 30, 2022   November 30, 2022
Expert Depositions Completed                  October 28, 2022     January 3, 2023
Submission of Dispositive Motions             December 16, 2022    February 16, 2023
Trial Date                                    June 6, 2023         August 7, 2023

                          5th           October
         SO ORDERED this ______ day of _______________, 2021.


                                           ALISTAIR E. NEWBERN
                                           UNITED STATES MAGISTRATE JUDGE




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